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United States District Court
District of Massachusetts

MW Gestion
Plaintiff,

Civil Action No.
22-11315-NMG

Vv.
1Globe Capital LLC et al.

Defendants.

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MEMORANDUM & ORDER

GORTON, J.

Plaintiff, MW Gestion (“plaintiff” or “MW Gestion”),
alleges that defendants, 1Globe Capital (“1Globe”), Jiagiang Li
and others (collectively, “defendants”), engaged in tortious
interference with a shareholder rights agreement. Following the
decision of another court that found the shareholder contract
invalid, plaintiff now seeks leave to amend its complaint to
omit its claim for tortious interference with contract and to
assert claims for tortious interference with business relations
and business expectancy. For the reasons that follow, the
motion to amend will be denied.

I. Background

Plaintiff is an investment management firm incorporated in
France that manages funds holding securities of Sinovac Biotech

Ltd. (“Sinovac”). Defendant 1Globe is a Delaware corporation.

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that also held shares in Sinovac. In March, 2016, Sinovac
entered into a Rights Agreement with its shareholders that is
governed by the laws of Antigua. The agreement contained a
shareholder rights plan, more commonly known as a “poison pill”
provision, which sought to dissuade any takeover acquirers by
distributing additional shares of Sinovac stock to existing
shareholders under certain circumstances. In effect, the
provision would cause the dilution of the percentage of shares
held by any would-be acquirer, thus preventing it from obtaining
effective control over Sinovac. At the time Sinovac adopted the
Rights Agreement, several groups of shareholders, including
defendants 1Globe and Jiaqiang Li, were competing for control of
Sinovac.

Plaintiff alleges that defendants misrepresented to the
public the extent and coordination of their Sinovac stock
holdings, in violation of multiple provisions of the Securities
Exchange Act of 1934 and the Rights Agreement. In response,
plaintiff filed suit in Delaware in 2018 and in this Court in
2022, alleging three counts under the Securities Exchange Act
and one count of tortious interference with the Rights
Agreement. Defendants subsequently moved to dismiss. This
Court allowed the motion to dismiss with respect to plaintiff’s
three claims under the Securities Exchange Act but denied it as

to the remaining claim for tortious interference with contract.
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Simultaneously, the parties to this case have been involved
in a dispute as to whether the Sinovac Rights Agreement is
valid. Because that agreement was governed by the laws of
Antigua, litigation began in 2018 in a lower court in Antigua,
proceeded to the appellate court and, ultimately, came before
the Judicial Committee for the Privy Council (“the Privy
Council”) in the United Kingdom.!

Both Antiguan courts agreed that the Rights Agreement was
valid and this Court ordered the present case stayed during the
appeal to the Privy Council. On appeal, the Privy Council
reversed and held that the Rights Agreement was invalid under
Antiguan law, effectively nullifying plaintiff’s claim for
tortious interference with a contract. Now, plaintiff moves to
amend its complaint by deleting its contract interference claim
and asserting two claims for tortious interference with business
relations and business expectancy. Defendants oppose the motion
to amend.

Ir. Legal Standard

When a party seeks leave to amend its pleading, courts will
“freely” grant leave “when justice so requires.” Fed. R. Civ. P.
15(a) (3). The First Circuit has recognized the amendment

standard does not pose a “high hurdle” on the moving party.

1 The Judicial Committee for the Privy Council is the highest court of appeal
for British dependencies and Commonwealth nations, including Antigua.

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Calderén-Serra v. Wilmington Tr. Co., 715 F.3d 14, 19 (lst Cir.

2013). Leave to amend should be denied, however, if it stems
from “undue delay, bad faith . . . [or] the absence of due
diligence on the movant’s part” or if amendment would result in
“undue prejudice to the opposing party.” Palmer v. Champion

Mortg., 465 F.3d 24, 30 (1st Cir. 2006); Foman v. Davis, 371

U.S. 178, 182 (1962). Leave to amend will also be denied if it
would be “futile” such that the amended complaint would fail to
state a claim upon which relief can be granted. Glassman v.

Computervision Corp., 90 F.3d 617, 623 (1st Cir. 1996). In

essence, a decision to allow or deny an amendment requires the
Court to examine carefully the “totality of the circumstances”

and exercise its broad discretion. Quaker State Oil Ref. Corp.

v. Garrity Oil Co., 884 F.2d 1510, 1517 (lst Cir. 1989).

IIL. Analysis

Defendants in this case first argue that leave to amend
should be denied because of plaintiffs’ undue delay in seeking
leave, i.e., it has been more than two years since plaintiff
filed this case.

Undue delay is not simply determined by counting the days
between the filing of a complaint and a request to amend. See

Amyndas Pharms., S.A. v. Zealand Pharma A/S, 48 F.4th 18, 37

(lst Cir. 2022) (holding that length of time alone is “not a

sufficient basis” for finding undue delay); compare Savoy v.

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White, 139 F.R.D. 265, 269 (D. Mass. 1991) (finding delay of

“over a year,” without more, was not undue), with Stone v. GERS,

Inc., No. CV 07-10743-JLT, 2008 WL 11388734, at *2 (D. Mass.
July 1, 2008) (finding 13-month delay was undue). Instead, it
depends upon on the “reasonableness of the [movant’s] actions.”

Calderén-Serra, 715 F.3d at 19. The longer a plaintiff delays

before seeking leave to amend, however, “the more likely [a]

motion to amend will be denied.” Steir v. Girl Scouts of the

USA, 383 F.3d 7, 12 (1st Cir. 2004).
When faced with a lengthy delay, the burden is on the
movant to show some “valid reason” for its “neglect and delay,”

Hayes v. New Eng. Millwork Distribs., Inc., 602 F.2d 15, 19 (1st

Cir. 1979), and if it fails to do so, the delay alone is “enough

to justify denying a motion for leave to amend,” Calderén-Serra,

715 F.3d at 20. The reasons for amendment that the First
Circuit have found valid are broad and include the filing of a
motion to dismiss, a ruling indicating “flaws in the original
pleading” or “the discovery of new information.” Amyndas

Pharms., S.A., 48 F.4th at 37. Once a party becomes aware of

the potential flaws in its pleading, however, it cannot simply
“wait and see” if a court finds in its favor and only then seek
to amend in the face of an unfavorable decision. Kader v.

Sarepta Therapeutics, Inc., 887 F.3d 48, 61 (lst Cir. 2018).

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In ACA Fin. Guar. Corp. v. Advest, Inc., 512 F.3d 46 (lst

Cir. 2008), for example, the First Circuit affirmed a denial of
a motion for leave to amend that was filed 18 months after
plaintiffs filed their first amended complaint. Id. at 54-55.
Because the grounds upon which they sought to amend under the
Securities Exchange Act were long known to them, they were not
entitled to “wait and see” for over one year if the complaint
was rejected before filing a second amended complaint. Id.
Here, plaintiff filed its first amended complaint in
December, 2022, but did not seek leave for further amendment
until more than two years later. That two-year delay in a case
that is now nearly three years old tips the balance against
allowing further amendment and increases plaintiff’s burden to
show why such a lengthy delay is not “undue.” See Hayes, 602

F.2d at 19; Calderén-Serra, 715 F.3d at 20.

Plaintiff offers no such reason. MW Gestion asserts no
newly discovered information that only now permits it to bring
claims for interference with business relations and business

expectancy, see Amyndas Pharms., S.A., 48 F.4th at 37, but

instead bases its request to amend upon facts known to it since
the start of this case. That is precisely the kind of wait-and-
see approach that the First Circuit has rejected. See Kader, 887

F.3d at 61.
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Much like the plaintiffs in Kader, 887 F.3d at 61, and ACA

Fin. Guar. Corp., 512 F.3d at 55-56, MW Gestion “deliberately

wait[ed] in the wings” for over two years and now moves to amend
only after the Privy Council reached an adverse decision. At the
time plaintiff filed its first amended complaint, it knew that
the validity of the Rights Agreement was an issue. By that
time, the Antigua case, filed in 2018, had been pending for
approximately four years. At no point during that extended
litigation, however, did plaintiff seek leave to assert its
alternative claims, which would have been permissible and would
constitute a commonplace form of pleading. See Fed. R. Civ. P.
B(d) (2).

Plaintiff rejoins that this delay is not undue because it
could not have foreseen that the Rights Agreement would be
invalidated and, moreover, any delay is attributable to
defendants. The facts, however, present a different picture.
Although plaintiff is correct that the Antiguan courts initially
ruled in its favor, the very pendency of that litigation put the

Rights Agreement in jeopardy. See Mogel v. UNUM Life Ins. Co. of

Am., 677 F. Supp. 2d 362, 365 (D. Mass. 2009) (indicating that
late-stage request to amend are viewed unfavorably when relevant
facts were known to the movant since the start of the case).

If plaintiff believes it has a claim against defendant,

irrespective the Rights Agreement, it could, and should, have
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stated such a claim during the pendency of this case, even
before this Court entered a stay to await the Privy Council’s

ruling. Cf. California ex rel. Wible v. Warner Chilcott PLC, No.

CIV.A. 11-11143-NMG, 2014 WL 1338285, at *2 (D. Mass. Apr. 1,
2014) (finding no undue delay where plaintiff moved to amend
within time to respond to motion to dismiss); Weinreich v.
Brooks, 340 F.R.D. 57, 59 (D. Mass. 2021) (finding no undue
delay where delay resulted from transfer of venue). Instead,
plaintiff waited for the Privy Council and only after its
adverse decision did plaintiff resort to “Plan B.”

As the First Circuit has warned, permitting a dilatory,
“wait and see” approach to amendment would result in:

delays, inefficiencies, and wasted work . . . impose

unnecessary costs and inefficiencies [and place a burden}

on both the courts and party opponents.

ACA Fin. Guar. Corp., 512 F.3d at 57. In short, “plaintiffs do

not get leisurely repeated bites at the apple” and, therefore,
plaintiff’s motion for leave to amend will be denied. Id.;

Kader, 887 F.3d at 61; see City of Mia. Fire Fighters’ & Police

Officers’ Ret. Tr. v. CVS Health Corp., 46 F.4th 22, 35 (1st

Cir. 2022) (affirming denial of motion for leave to amend where
plaintiffs sought “a third bite of the apple in the form of a

second amended complaint”) .2

2 Because undue delay alone is sufficient grounds to deny leave to amend, see
Calderén-Serra, 715 F.3d at 20, the Court declines to address defendants’
arguments that amendment would result in prejudice or be futile.

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ORDER

For the foregoing reasons, the motion of plaintiff, MW

Gestion, for leave to amend (Docket No. 79) is DENIED.
So ordered.
V Hi. LM Gels,

Nathaniel M. Gorton
United States District Judge

Dated: April23, 2025
